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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                           Plaintiff,

             v.                                                 12-CR-301S

MISTY MIHALKO

                     Defendant.
_____________________________________

                                DECISION AND ORDER

             This case was referred to the undersigned by the Hon. William M.

Skretny, in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear

and report upon dispositive motions. Text Order of Referral dated September 20,

2012.



                             PRELIMINARY STATEMENT

             The defendant, Misty Mihalko (“Mihalko”), along with seven others, is

charged in an eight-count, Indictment (Dkt. #1) with conspiracy to commit firearms

offenses (Count 1) and transporting firearms purchased outside of New York State into

New York State (Count 2). Presently pending is Mihalko’s omnibus discovery motion.

Dkt. #66. This Court’s Report, Recommendation and Order on defendant Mihalko’s

motion to suppress will be filed separately. What follows is this Court’s Decision and

Order addressing defendant Mihalko’s non-dispositive omnibus discovery motion.
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                               DISCUSSION AND ANALYSIS

Exclusion of Statements by Non-testifying Co-conspirators

               Pursuant to Bruton v. United States, 391 U.S. 123 (1968) and the Sixth

Amendment to the United States Constitution, the defendant requests that the Court

preclude the admission into evidence of all post-arrest statements by non-testifying co-

conspirators/co-defendants which may implicate the defendant in any way. Dkt. #66,

¶¶11-14. In support of her request, defendant Mihalko claims that she “has received

discovery of post-arrest statements by some coconspirators or co-defendants, however,

she cannot know whether the government will seek to use such evidence against her,

or even if other statements exist.” Id. at ¶14.



               In its response, the government states that “[t]he government may

introduce statements of non-testifying co-conspirators as proof of the conspiracy.” Dkt.

#77, p.3. Because Rule 801(d)(2)(E) of the Federal Rules of Evidence does not contain

a required pretrial notice, there is no requirement on the part of the government to

make any such disclosure of this type of evidence at this time. As a result, defendant’s

request in this regard is denied. Any request to exclude such statements at the trial, is

a matter left to the discretion of the trial judge.



Bill of Particulars

               The defendant seeks the following information with respect to Count 1 of

the Indictment: the exact date defendant Mihalko joined the alleged conspiracy; the



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manner in which she joined the conspiracy; the identity of all known, but unnamed co-

conspirators; each individual with which defendant Mihalko had an agreement with

respect to the conspiratorial goal and the nature of any such agreements; whether it is

alleged that defendant Mihalko had knowledge of the purchasing and transportation of

the firearms; exactly how she “knew” of the purchasing and/or transportation of the

firearms; the specific locations in the Western District of New York in which defendant

Mihalko engaged in the conspiracy; the other unnamed locations in which the

conspiracy took place; the precise conduct of defendant Mihalko alleged to establish

the conspiracy elements of combination and agreement; the overt acts of defendants

intended to be proven at trial; the exact date, time and place these alleged offenses

occurred; the identity of the alleged purchasers including any confidential informant

and/or police officers or others acting on behalf of the government. Dkt. #66, ¶16(a)-

(m).



              In its response to defendant Mihalko’s request for particularization of the

conspiracy charge, the government asserts that what the defendant seeks is a bill of

particulars regarding the development of and the defendant’s involvement throughout

the conspiracy. In addition, the government asserts that it should not be required to

furnish particulars relating to the formation of a conspiracy, including when and how it

was formed and when a particular defendant joined, because such details need not be

proven at trial. Finally, the government states,

              In the instant case, it must be noted the defendant fails to
              articulate any facts upon which the Court could conclude the
              defendant has met his [sic] burden of establishing need. As

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              set forth in the Indictment, this is a straight-forward gun
              conspiracy. The defendant has been provided with all
              discovery in this matter. In light of this information, the
              discovery provided to the defense, and the straight-forward
              nature of case, there is no need for a bill of particulars.

Dkt. #77, p.7 (internal citations omitted).



              It has become axiomatic that the function of a bill of particulars is to

apprise a defendant of the essential facts of the crime for which he has been charged.

United States v. Salazar, 485 F.2d 1272, 1277-78 (2d Cir. 1973); cert. denied, 415 U.S.

985 (1974); Wong Tai v. United States, 273 U.S. 77 (1927). The straight-forward

nature of the charges in the Indictment, along with the discovery materials provided by

the government, clearly inform the defendant of the essential facts of the crimes

charged. As a result, the defendant is not entitled to, nor is he in need of, the

“particulars” being sought for that purpose. Accordingly, defendant’s request for a bill of

particulars is denied.

              A bill of particulars should be required only where the
              charges of the indictment are so general that they do not
              advise the defendant of the specific acts of which he is
              accused.” United States v. Feola, 651 F. Supp. 1068, 1132
              (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.) (mem.), cert.
              denied, 493 U.S. 834, 110 S.Ct. 110, 107 L.Ed.2d 72
              (1989); see also United States v. Leonelli, 428 F. Supp. 880,
              882 (S.D.N.Y. 1977). “Whether to grant a bill of particulars
              rests within the sound discretion of the district court.” United
              States v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984) (citing
              United States v. Burgin, 621 F.2d 1352, 1358-59 (5th Cir.),
              cert. denied, 449 U.S. 1015, 101 S.Ct. 574, 66 L.Ed.2d 474
              (1980)); see also [United States v.] Bortnovsky, 820 F.2d
              [572] at 574 [(2d Cir. 1987)]. “Acquisition of evidentiary
              detail is not the function of the bill of particulars.” Hemphill



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               v. United States, 392 F.2d 45, 49 (8th Cir.), cert. denied, 393
               U.S. 877, 89 S.Ct. 176, 21 L.Ed.2d 149 (1968).


United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir.), cert. denied, 543 U.S. 994 (2004); United States v.

Porter, No. 06-1957, 2007 WL 4103679 (2d Cir. Nov. 19, 2007), cert. denied, 128 S.Ct.

1690 (2008).



Giglio Material
Brady Material

               In two separate requests the defendant is seeking the disclosure of Brady

and Giglio material. Dkt. #66, ¶¶18-19 and 24. In its response the government states,

               The government is fully aware of its obligations and
               responsibilities under Brady and acknowledges its
               continuing duty under Brady to produce such material, if and
               when it is aware of it. In this case, the government agrees to
               provide impeachment Brady material, i.e., promises of
               leniency or immunity agreements with government
               witnesses, plea and/or non-prosecution agreements and
               letters or memorandum of understanding regarding such,
               criminal arrest records of all prosecution witnesses, immoral,
               vicious or criminal acts committed by witnesses, prior
               inconsistent statements, any payments to witnesses or
               family members thereof, and all other promises or
               considerations given by government personnel to
               government witnesses or family members thereof, in
               accordance with the schedule set by the District Court prior
               to trial and no later than when the government produces and
               delivers the Jencks Act material in this case. Courts have
               routinely held that a prosecutor’s compliance with the
               disclosure of material under the Jencks Act is timely
               disclosure under Brady.

Dkt. #77, pp.8-9.



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              “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

United States v. Coppa, 267 F.3d 132, 146 (2d Cir. 2001). The prosecution is obligated

to disclose and turn over Brady material to the defense “in time for its effective use.” Id.

at 144. With respect to impeachment material that does not rise to the level of being

Brady material, such as Jencks Act statements, the prosecution is not required to

disclose and turn over such statements until after the witness has completed his/her

direct testimony. See 18 U.S.C. § 3500; Fed. R. Crim. P. 26.2; In re United States, 834

F.2d 283 (2d Cir. 1987). However, if the government has adopted a policy of turning

such materials over to the defendant prior to trial, the government shall comply with that

policy; or in the alternative, produce such materials in accordance with the scheduling

order to be issued by the trial judge.



              Based on the representations made by counsel for the government as to

its obligations under Brady and Giglio, the defendant’s request is denied, but the

government is hereby directed to comply with the Second Circuit Court of Appeals’

holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v.

Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of those materials

to the defendant.




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Early Disclosure of Jencks Act Material

              By this request, the defendant seeks the early disclosure (forty-eight (48)

hours before trial) of witness statements pursuant to Title 18, United States Code,

Section 3500. Dkt. #66, ¶¶20-22. In its response, the government states, “[t]he

government will provide all Jencks material not less than forty-eight (48) hours prior to

the trial in this case as requested by the defendant.” Dkt. #77, p.10.



              As noted above, with respect to impeachment material that does not rise

to the level of being Brady material, such as Jencks Act statements, the prosecution is

not required to disclose and turn over such statements until after the witness has

completed his or her direct testimony. See 18 U.S.C. § 3500; Fed. R. Crim. P. 26.2; In

re United States, 834 F.2d 283 (2d Cir. 1987). However, if the government has

adopted a policy of turning such materials over to the defendant prior to trial, the

government shall comply with that policy; or in the alternative, produce such materials

in accordance with the scheduling order to be issued by the trial judge.



              Based on the representations made by counsel for the government, that it

will comply with the defendant’s request concerning the early disclosure of witnesses’

statements, the defendant’s request is denied. Notwithstanding the foregoing, the

government is hereby directed to comply with the Second Circuit Court of Appeals’

holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001) and United States v.




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Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely disclosure of those materials

to the defendant.



Identity of Informants

              The defendant requests the disclosure of the identity and addresses of

any government informants. Dkt. #66, ¶¶23(a)-(o). In its response, the government

states that the defendant has not satisfied her burden of showing a particularized need

for such disclosure. Dkt. #77, p.11. In order to be entitled to the requested information,

the defendant must sufficiently state a basis for requiring the disclosure of this

information or that the testimony of the informant would be of even marginal value to

the defendant’s case. Moreover, the Court notes that the holding of the Court of

Appeals for the Second Circuit in United States v. Saa, 859 F.2d 1067 (2d Cir. 1988),

cert. denied, 489 U.S. 1089 (1989), is instructive:

              The leading Supreme Court case on this question, Roviaro
              v. United States, 353 U.S. 53, 77 S.Ct. 623, 1 L.Ed.2d 639
              (1957), holds that

                     [w]here the disclosure of an informant’s
                     identity, or of the contents of his
                     communication, is relevant and helpful to the
                     defense of an accused, or is essential to the
                     fair determination of a cause, the [informant’s]
                     privilege must give way.

              353 U.S. at 60-61, 77 S.Ct. at 628. The Court explained that
              “no fixed rule with respect to disclosure is justifiable.” Id. at
              62, 77 S.Ct. at 628. What is required is “balancing the
              public interest in protecting the flow of information against
              the individual’s right to prepare his defense.” Id. Whether
              non-disclosure is erroneous “must depend on the particular
              circumstances of each case, taking into consideration the


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              crime charged, the possible defenses, the possible
              significance of the informer’s testimony, and other relevant
              factors.” Id. See Rugendorf v. United States, 376 U.S. 528,
              534-35, 84 S.Ct. 825, 829, 11 L.Ed.2d 887 (1964); United
              States v. Lilla, 699 F.2d 99, 105 (2d Cir. 1983); United
              States v. Ortega, 471 F.2d 1350, 1359 (2d Cir. 1972), cert.
              denied, 411 U.S. 948, 93 S.Ct. 1924, 36 L.Ed.2d 409
              (1973).

              The defendant is generally able to establish a right to
              disclosure “where the informant is a key witness or
              participant in the crime charged, someone whose testimony
              would be significant in determining guilt or innocence.”
              United States v. Russotti, 746 F.2d 945, 950 (2d Cir. 1984);
              United States v. Roberts, 388 F.2d 646, 648-49 (2d Cir.
              1968); see United States v. Price, 783 F.2d 1132 (4th Cir.
              1986); United States v. Barnes, 486 F.2d 776 (8th Cir. 1973).
              In Roberts, the informant introduced an undercover agent to
              the defendant and was present when the defendant and the
              agent negotiated and transacted two sales of heroin. The
              Court, noting that the informant was “present during all the
              significant events,” 388 F.2d at 649, found that he was
              “obviously a crucial witness to the alleged narcotics
              transactions,” id., and therefore, his whereabouts should
              have been revealed to the defense if properly requested.
              But disclosure of the identity or address of a confidential
              informant is not required unless the informant’s testimony is
              shown to be material to the defense. See United States v.
              Valenzuela-Bernal, 458 U.S. 858, 870-81, 102 S.Ct. 3440,
              3448, 73 L.Ed.2d 1193 (1982) (dictum); United States v.
              Lilla, 699 F.2d at 105. As this Court’s recent opinion in
              United States v. Jiminez, 789 F.2d 167 (2d Cir. 1986) makes
              clear, it is not sufficient to show that the informant was a
              participant in and witness to the crime charged. In Jiminez,
              the informant was both participant and witness, but the
              district court’s refusal to order disclosure of his identity was
              upheld on the ground that the defendant had failed to show
              that the testimony of the informant “would have been of even
              marginal value to the defendant’s case. 789 F.2d at 170.”


Id. at 1073; see also United States v. Fields, 113 F.3d 313, 324 (2d Cir.), cert. denied,

522 U.S. 976 (1997). Absent the defendant stating a basis for requiring the disclosure


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of this information or that the testimony of the informant would be of even marginal

value to the defendant’s case, the defendant’s request is denied without prejudice.



Discovery

             Under the heading “Discovery,” defendant Mihalko seeks an Order from

this Court directing the government to disclose documents and information enumerated

in twenty-three separate requests (with numerous sub-parts). Dkt. #66, ¶¶24-48.

In its response, the government states that, “it has provided all discovery required under

Rule 16 or has made such discovery available to inspection by defense counsel. The

government is aware of its obligation to provide continuing Rule 16 discovery if and

when such becomes known to the government, and agrees to comply with this

requirement.” Dkt. #77, p.12. Based on the representations made by counsel for the

government that all required Rule 16 disclosures have been made or have been made

available, defendant’s request is denied.



Rule 404(b) Material

             In her request, the defendant states,

             [p]ursuant to Rules 12(b)(4), (d)(1) and (2) of the Federal
             Rules of Criminal Procedure, and Rules 104(a) and 404(b)
             of the Federal Rules of Evidence, Mr. Evans [sic]
             respectfully requests that the government notify him [sic] of
             any evidence that the government contends would be
             admissible under Rule 404(h) [sic] of the Federal Rules of
             Evidence.

             Ms. Mihalko also requests pretrial disclosure of any
             evidence the government intends to use to impeach


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               Defendant’s credibility if he [sic] should choose to testify. In
               the event that [sic] government intends to use such
               evidence, the defendant requests a pretrial hearing to
               determine the admissibility of such evidence.

Dkt. #66, ¶¶49-50. In its response, the government states that, “[t]he government will

provide notice of Rule 404(b) information to the defense, pursuant to the District Court’s

scheduling order.” Dkt. #77, p.13.


               Rule 404(b) only requires that “the prosecution. . . provide reasonable

notice in advance of trial. . . of the general nature of any such evidence it intends to

introduce at trial.” (Emphasis added). Insofar as the government has indicated that it

intends to comply with any pretrial disclosure order entered by the trial judge and

further, that it understands its disclosure obligations, defendant’s request is denied as

moot. The Court notes that the issue of admissibility of such evidence pursuant to

Rules 403 and 404(b) of the Federal Rules of Evidence is best left to the determination

of the trial judge at the time of trial.



Preservation of Agent Notes

               By this request, the defendant seeks an Order from this Court requiring

all government agents and officers who participated in this investigation to retain and

preserve all investigative notes generated during the investigation, as well as a list of

otherwise discoverable documents that have been destroyed. Dkt. #66, ¶¶51 and 52.

In its response, the government states, “[a]ppropriate instructions will be given to the

agents involved in the investigation regarding the preservation of evidence.” Dkt. #77,

p.14.

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              Although perhaps unnecessary, based on the representations made by

counsel for the government concerning its acknowledgment that appropriate

instructions will be given to the agents, the express admonition of the Court of Appeals

for the Second Circuit bears repeating in addressing this particular request of the

defendant wherein the Court stated:

              [W]e will look with an exceedingly jaundiced eye upon future
              efforts to justify non-production of a Rule 16 or Jencks Act
              “statement” by reference to “departmental policy” or
              “established practice” or anything of the like. There simply is
              no longer any excuse for official ignorance regarding the
              mandate of the law. Where, as here, destruction is
              deliberate, sanctions will normally follow, irrespective of the
              perpetrator’s motivation, unless the government can bear
              the heavy burden of demonstrating that no prejudice
              resulted to the defendant. . . . We emphatically second the
              district court’s observation that any resulting costs in the
              form of added shelf space will be more than
              counterbalanced both by gains in the fairness of trials and
              also by the shielding of sound prosecutions from
              unnecessary obstacles to a conviction.

United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821

(1976). Accordingly, the government is hereby directed to maintain and preserve all

materials that are known by the government to exist, that constitute potential Jencks Act

material in this case.




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Rule 807 Disclosure

              By this request defendant Mihalko seeks pretrial notice of the

government’s intention to proffer statements or evidence pursuant to the residual

hearsay exception in Rule 807 of the Federal Rules of Evidence. Dkt. #66, ¶¶54-56. In

its response, the government states that it will provide the defendant with any 807

evidence sought to be introduced during the government’s case-in-chief, prior to trial.

Based on the representations made by the government, defendant Mihalko’s request

for pre-trial notice is denied as moot.



Joinder

              The defendant seeks to join in any motion filed by any of her co-

defendants. Dkt. #66, p.19. This request is granted with the further directive and finding

that the decision made by this Court as to each of the co-defendant’s requests

contained in the motions in which this defendant joins shall also be deemed to be the

finding and Order of this Court as to the defendant herein.



Leave to Submit Further Motions

              By this request, the defendant “reserves the right to make further and

additional motions that may be necessary based on any ruling of this or any other court

during the pendency of this matter.” Dkt. #66, ¶59. This request is granted provided

that any additional bases for relief are based on facts or information learned by reason




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of the continuation of the investigation or facts and circumstances revealed in the

government’s response to the instant motion or this Court’s Decision and Order.



Government’s Request for Reciprocal Discovery

              In addition to the relief requested by the defendant, the government has

made a request for reciprocal discovery. Dkt. #77, p.13. The government has

requested that the defendant permit it to inspect and copy all books, papers,

documents, photographs and other tangible objects which the defendant intends to

introduce as evidence-in-chief at the trial. In addition, the government seeks to inspect

all reports of physical or mental examinations and of scientific tests or experiments,

within the possession or control of the defendant along with written summaries of expert

witness testimony that the defendant intends to use at trial. Since the defendant has

moved pursuant to Rule 16(a)(1) of the Federal Rules of Criminal Procedure for similar

materials and information, the government is entitled to this information pursuant to

Rule 16(b)(1) and its request is granted.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and



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Order in accordance with the above statute, Fed. R. Crim. P. 58(g)(2) and Local Rule

58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:        Buffalo, New York
              September 5, 2013

                                           s/ H. Kenneth Schroeder, Jr.
                                           H. KENNETH SCHROEDER, JR.
                                           United States Magistrate Judge

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